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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION



 TESSERA ADVANCED TECHNOLOGIES,              Case No. 2:17-cv-00671-JRG
 INC.

                    Plaintiff,               JURY TRIAL REQUESTED
  v.

 SAMSUNG ELECTRONICS CO. LTD. AND
 SAMSUNG ELECTRONICS AMERICA,
 INC.,

                    Defendants.



         TESSERA ADVANCED TECHNOLOGIES, INC.’S SUR-SURREPLY
                     CLAIM CONSTRUCTION BRIEF
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   No. 2:16-CV-527-JRG-RSP, 2017 WL 2444715 (E.D. Tex. June 6, 2017)..............................2




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                                TABLE OF EXHIBITS

  Exhibit Number                                  Description

       1-20        These numbers refer to the attachments to Tessera’s Opening Claim
                   Construction Brief

      21-25        These numbers refer to the attachments to Tessera’s Reply Claim
                   Construction Brief




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I.      TESSERA’S CONSTRUCTIONS SHOULD BE ADOPTED

        A.      “fill up”

        In its Surreply, Samsung does not dispute that it intends to limit the phrase “fill up” to just

one of its plain and ordinary meanings. (Cf. TATI Reply Br. at 7-8.) Nor does it point to any

disclaimer or dispute that its implicit construction reads out preferred embodiments of the patent

expressly described in the specification. (Cf. id.) Instead Samsung erroneously relies on not-to-

scale patent figures that it claims support its construction. This is insufficient as a matter of law.

MBO Labs., Inc. v. Becton, Dickinson & Co., 474 F.3d 1323, 1333 (Fed. Cir. 2007) (“[P]atent

coverage is not necessarily limited to inventions that look like the ones in the figures . . . .”).

        Samsung argues that the Court should rely on not-to-scale patent figures to find that its

construction does not read out a preferred embodiment because Tessera relied on a modified figure

that is based on explicit dimensions in the specification. (Samsung Surreply at 1; Ex. 21 (providing

unrebutted testimony that the figures are not to scale).)          This argument is a non-sequitur.

Samsung’s reliance on not-to-scale figures is legal error and Tessera’s recreation of a figure based

on dimensions set forth in the specification is entirely proper.1 See Hockerson Halberstadt, Inc.

v. Avia Grp. Int’l, Inc., 222 F.3d 951, 956 (Fed. Cir. 2000) (“[I]t is well established that patent

drawings do not define the precise proportions of the elements and may not be relied on to show

particular sizes if the specification is completely silent on the issue.” (internal citations omitted)).

        Samsung attempts to distance itself from Hockerson Halberstadt by identifying two cases

where patent figures were purportedly relevant to claim construction. (Samsung Surreply at 1.)




1
 Samsung accuses Tessera of an “abrupt change in position.” (Samsung Sur Reply at 1.) Not
so. Tessera provided to-scale figures to illustrate the dimensions expressly taught by the
specification. There is nothing inconsistent with Tessera relying on to-scale figures and rejecting
Samsung’s not-to-scale figures.
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But neither of these cases relied on not-to-scale patent figures to override express dimensions in

the specification, as Samsung attempts to do here. In fact, neither case was even concerned with

the dimensions of the figures. Instead, Theta IP LLC v. Samsung Elecs. Co., merely held that two

figures accompanied by a consistent disclosure in the specification illustrated that one signal was

relatively stronger than another. No. 2:16-CV-527-JRG-RSP, 2017 WL 2444715, at *14 (E.D.

Tex. June 6, 2017) (citations omitted). Even farther afield is CVI/Beta Ventures, Inc. v. Tura LP,

where the Federal Circuit relied on figures containing graphs of stress and strain to provide

guidance as to the meaning of “elasticity.” 112 F.3d 1146, 1153 (Fed. Cir. 1997). Neither of these

cases suggests that it is appropriate to limit the claims or rewrite embodiments by measuring a not-

to-scale patent figure. (Cf. Samsung Resp. Br. at 24.) It is not. Hockerson Halberstadt, 222 F.3d

at 956 (citing See In re Wright, 569 F.2d 1124, 1127 (CCPA 1977) (“Absent any written

description in the specification of quantitative values, arguments based on measurement of a

drawing are of little value.”)).

       Samsung also argues that Hockerson Halberstadt is irrelevant where the dimensions of a

figure are not at issue. (Id. at n.1.) But the dimensions of the depicted embodiment are at issue

here—the embodiment of the figures described in the specification has express dimensions which

do not “fill completely” the openings, as Samsung contends the claims require. (Compare

Samsung Resp. Br. at 25 with Ex. 21 ¶ 9.) The Court should reject Samsung’s attempt to argue an

implicit claim construction to the jury that reads out all preferred embodiments.

       B.      “first, thin conductive film” and “second, thick conductive film”

       Samsung’s Surreply does not address Tessera’s position. In particular, Tessera explained

that the terms “thin” and “thick” are used to indicate that the “first, thin conductive film” is thinner

than the “second thick conductive film.” (TATI Reply Br. at 4; Ex. 21 ¶ 2.) Samsung does not

dispute that this is the plain and ordinary meaning of the term to a person of skill in the art. (See
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Samsung Surreply at 2-4.) Nor does Samsung suggest that a person of skill in the art would have

any difficulty identifying which of two films is thicker. (Id.)

          Instead, Samsung cites to a handful of cases finding certain terms of degree indefinite, but

it is well-settled that terms of degree are regularly held to be definite. See, e.g., One-E-Way, Inc.

v. Int’l. Trade Comm’n, 859 F.3d 1059, 1063 (Fed. Cir. 2017) (“As long as claim terms satisfy [the

Nautilus] test, relative terms and words of degree do not render patent claims invalid.”). And the

standard for definiteness (regardless of whether a term is one of degree) is whether “the patent’s

claims, viewed in light of the specification and prosecution history, inform those skilled in the art

about the scope of the invention with reasonable certainty.” Nautilus, Inc. v. Biosig Instruments,

Inc., 134 S. Ct. 2120 (2014). And Samsung makes no effort to argue that the plain meaning

proposed by Tessera cannot be ascertained with “reasonable certainty.” Nor could it. It is beyond

dispute that a person of skill in the art can readily identify if a first conductive film (e.g., a seed

film) is thinner than a second conductive film (e.g., an electroplated wire). (Ex. 21 ¶ 2; Ex. 1 ¶¶

50-52.)

          Samsung also attempts to argue that its position before the Patent Trial and Appeals Board

(“PTAB”) is not inconsistent with its position here because it could have argued (but did not2) that

its proposed combination of references used dimensions similar to an exemplary embodiment of

the ’616 patent. (Samsung Surreply at n.2.) Samsung appears to contend that it can prevail before

the PTAB on its prior art arguments even if the claim is indefinite. This is not current PTAB law.

Under PTAB precedent, if a term is indefinite, a petitioner cannot prevail. See, e.g., Fortinet, Inc.

v. Sophos Inc., Case IPR2015-00617, Institution Decision (PTAB Aug. 13, 2015) (Paper 9)



2
 In its IPR petition, Samsung did not argue that the term was indefinite or base its obviousness
positions for the elements at issue on any comparison to the embodiments of the ’616 patent.
(E.g. Ex. 7 at 45-49.) It simply applied the plain meaning of claims. (Id.)
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(“Independent claim 9, however, recites [a] limitation, . . . which we determined is not amenable

to construction, as discussed above. Accordingly, we do not attempt to apply claim 9 to the

asserted prior art.” (citing In re Steele, 305 F.2d 859, 862–63 (CCPA 1962) (in the ex parte appeal

context, holding that where a claim’s meaning is indefinite under 35 U.S.C. § 112, ¶ 2, a rejection

based on prior art is improperly based on speculation); BlackBerry Corp. v. Mobile Media Ideas,

LLC, Case IPR2013-00036, slip op. 20 (PTAB Mar. 7, 2014) (Paper 65))). Samsung’s position

before the PTAB was not taken in the alternative, or by comparing the prior art to an embodiment.

(E.g. Ex. 7 at 45-49.) Instead Samsung and its expert applied the plain and ordinary meaning (just

as Tessera proposes). (Id.) In any event, inconsistent or not, the fact that Samsung and its expert

had no difficulty repeatedly applying these terms is powerful evidence that the terms are

sufficiently definite. Sonix Tech. v. Publications, Int’l., 844 F.3d 1370, 1380 (Fed. Cir. 2017)

(“The parties’ experts also had no difficulty in applying ‘visually negligible.’ Dr. Ashok and Dr.

Engels repeatedly applied the term to the references and the accused products. . . . [C]ontinued

application by the experts in this case further supports the conclusion that a skilled artisan did

understand the term with reasonable certainty.”).

       The Court should reject Samsung’s indefiniteness argument.


Dated: September 5, 2018                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE


        The undersigned hereby certifies that the foregoing document was filed electronically

 in compliance with Local Rule CV-5(a). As such, this notice was served on all counsel of

 record who have consented to electronic service as this district requires in accordance with

 Local Rule CV-5(a)(3)(A) on this 5th day of September, 2018.



                                                      /s/ Andrea Fair




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